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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA
JAMES MILLER, et al., Case No.: 3:22-cv-01446-BEN-MDD
Case No.: 3:22-cv-01461-BEN-JLB
Plaintiffs,
JUDGMENT
Vv.

ROB BONTA, Attorney General of
California, et al.,

Defendants,
and

GAVIN NEWSOM, Governor of the
State of California,

Intervenor-Defendant.

 

SOUTH BAY ROD & GUN CLUB,
INC., et al.,

Plaintiffs,
Vv.

ROB BONTA, Attorney General of
California, et al.,

Defendants,
and

GAVIN NEWSOM, Governor of the
State of California,

Intervenor-Defendant.

 

 

In accordance with the Court’s December 19, 2022, Opinion And Order
Enjoining Enforcement Of California Code Of Civil Procedure § 1021.11 (ECF No.

 

 

 
 

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43 (Miller I), ECF No. 36 (South Bay Rod & Gun Club)), and the Parties’ stipulation
for entry of judgment, IT IS HEREBY ORDERED, ADJUDGED, and DECREED
that judgment be entered in each case as follows:

l. Judgment is entered in favor of Plaintiffs and against Defendants on
Plaintiffs’ claim that California Code of Civil Procedure § 1021.11 (“§ 1021.11”) is
unconstitutional under the Supremacy Clause of the United States Constitution.

2. Judgment is entered in favor of Plaintiffs and against Defendants on
Plaintiffs’ claim that § 1021.11 is unconstitutional under the First Amendment to the
United States Constitution.

3. Judgment is entered in favor of Plaintiffs and against Defendants on
Plaintiffs’ claim that § 1021.11 is unconstitutional under the Equal Protection Clause
of the Fourteenth Amendment to the United States Constitution.

4, Accordingly, the Court declares § 1021.11 to be unconstitutional and
permanently enjoins the Defendants from bringing any action or motion under §
1021.11 to obtain an award of attorney’s fees and costs. Defendant Attorney General
Rob Bonta and Intervenor-Defendant Governor Gavin Newsom, and their officers,
agents, servants, employees, and attorneys, and those persons in active concert or
participation with them who receive actual notice of this injunction order are enjoined
from implementing or enforcing § 1021.11, as enacted by S.B. 1327.

5. The Court shall retain jurisdiction over this action for the purpose of
entertaining a motion by Plaintiffs for an award of costs and attorney’s fees pursuant
to 42 U.S.C. § 1988 and any other applicable law. Based on the Parties’ stipulation, if
the parties are unable to resolve the issue of fees, Plaintiffs shall file such a motion

within 90 days/from/he date of this judgment.

 

 

{Hon. T" Benitez en
United Statés District Judge

 

 

 
